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UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


ISAAC HUDSON, JR.,                                §
                                                  §
                Petitioner,                       §
                                                  §
versus                                            §    CIVIL ACTION NO. 1:19-CV-563
                                                  §
DIRECTOR, TDCJ-ID,                                §
                                                  §
                Respondent.                       §

                     MEMORANDUM ORDER ADOPTING
           THE MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
         Isaac Hudson, Jr., proceeding pro se, filed this petition for writ of habeas corpus pursuant
to 28 U.S.C. § 2254. The court referred this matter to the Honorable Zack Hawthorn, United
States Magistrate Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and

orders of the court.
         The magistrate judge has submitted a Report and Recommendation of United States

Magistrate Judge concerning this matter. The magistrate judge recommends dismissing the
petition without prejudice pursuant to Federal Rule of Civil Procedure 41(b).
         The court has received the Report and Recommendation of United States Magistrate Judge,
along with the record, pleadings, and all available evidence. No objections were filed to the Report

and Recommendation.
                                              ORDER
         Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct
and the report of the magistrate judge is ADOPTED. A final judgment will be entered dismissing

the petition.


          SIGNED at Beaumont, Texas, this 21st day of October, 2020.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
